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                                   6                         IN THE UNITED STATES DISTRICT COURT
                                   7                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                   9    UNITED STATES OF AMERICA,                       Case No. 17-cr-00175-CRB-1
                                  10                  Plaintiff,
                                                                                        ORDER DENYING MOTION TO
                                  11            v.                                      DISMISS
                                  12    ERIC WORTHEN, ET AL.,
Northern District of California
 United States District Court




                                  13                  Defendants.
                                  14

                                  15          Defendants Len and Lance Turner (“Defendants”) move to dismiss Count Eight of
                                  16   the Indictment, which charges them with defrauding the government in violation of 18
                                  17   U.S.C. § 371. See MTD (dkt. 113). Defendants argue that, in alleging a bid-rigging
                                  18   scheme in which Defendants agreed to submit a phony bid in order to artificially ensure
                                  19   that another individual’s bid prevailed, Count Eight fails to allege elements satisfying the
                                  20   common law definition of “defraud.” Id.; Indictment (dkt. 1) ¶¶ 42–47. Defendants
                                  21   contend that common law fraud requires “some material false statement by which the
                                  22   defendant seeks to obtain property from the victim.” MTD at 4. And they assert that
                                  23   Count Eight fails to allege either a false statement or the obtaining of property. Id. at 4–5.
                                  24          Defendants’ argument fails because the government is not limited to the common
                                  25   law definition of fraud. Section 371 provides that “[i]f two or more persons conspire . . . to
                                  26   defraud the United States, or any agency thereof in any manner or for any purpose, and one
                                  27   of more of such persons do any act to effect the object of the conspiracy, each shall be
                                  28   fined under this title or imprisoned not more than five years, or both.” 18 U.S.C. § 371.
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                                   1   The Supreme Court has explained that “To conspire to defraud the United States means
                                   2   primarily to cheat the government out of property or money, but it also means to interfere
                                   3   with or obstruct one of its lawful government functions by deceit, craft or trickery, or at
                                   4   least by means that are dishonest.” See Hammerschmidt et al. v. United States, 265 U.S.
                                   5   182, 188 (1924) (emphasis added). The Court continued: “It is not necessary that the
                                   6   government shall be subjected to property loss by the fraud, but only that its legitimate
                                   7   official action and purpose shall be defeated by misrepresentation, chicane, or the
                                   8   overreaching of those charged with carrying out the governmental intention.” Id.1
                                   9          The Ninth Circuit, too, has commented that while the language of section 371
                                  10   “seems to cover only defrauding in the normal sense of the word—acquiring another’s
                                  11   property by intentional misrepresentations—the word ‘defraud’ has been read much more
                                  12   broadly.” See United States v. Caldwell, 989 F.2d 1056, 1058 (9th Cir. 1993), overruled
Northern District of California
 United States District Court




                                  13   on other grounds by Neder v. United States, 527 U.S. 1, 8–9 (1999); see also United States
                                  14   v. Tuohey, 867 F.2d 534, 536 (9th Cir. 1989) (noting that Supreme Court reiterated in
                                  15   Dennis v. United States, 384 U.S. 855, 861 (1966), that “conspiracy to defraud the United
                                  16   States is not limited to common-law fraud, but reaches ‘any conspiracy for the purpose of
                                  17   impairing, obstructing or defeating the lawful function of any department of
                                  18   Government.’”). Relying on Hammerschmidt, the Caldwell court instructed that “[t]o
                                  19   convict someone under 18 U.S.C. § 371 the government need only show (1) he entered
                                  20   into an agreement (2) to obstruct a lawful function of the government (3) by deceitful or
                                  21   dishonest means and (4) at least one overt act in furtherance of the conspiracy.” Id. at
                                  22   1059 (citing Hammerschmidt, 265 U.S. at 188; United States v. Boone, 951 F.2d 1526,
                                  23   1543 (9th Cir. 1991)). This remains the law of the circuit. See, e.g., United States v.
                                  24   Conti, 804 F.3d 977, 979–80 (9th Cir. 2015) (citing Caldwell); United States v. Rodman,
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                                         Defendants criticize the government here for not reciting the passage immediately after this
                                  27   quotation, see Reply (dkt. 119) at 9; Opp’n (dkt. 116) at 18, but that passage only reiterates the
                                       requirement of “dishonest methods or schemes,” see Hammerschmidt, 265 U.S. at 188. The Court
                                  28   cautioned that “mere open defiance of the governmental purpose to enforce a law” is insufficient
                                       to violate section 371. Id. at 189.
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